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17
                      IN THE UNITED STATES DISTRICT COURT
18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                  SOUTHERN DIVISION
20
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
21   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           ) JOINT [PROPOSED]
22   a Delaware corporation,                ) PRETRIAL CONFERENCE ORDER
                                            )
23            Plaintiffs,                   )
                                            ) Hon. James V. Selna
24       v.                                 )
                                            )
25   APPLE INC., a California corporation, )) Pre-Trial Conf.: 3/13/23
26            Defendant.                    ) Trial: 3/28/23
                                            )
27                                          )
                        REDACTED VERSION OF DOCUMENT
28                     PROPOSED TO BE FILED UNDER SEAL
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1            Following pretrial proceedings, pursuant to Fed. R. Civ. P. 16 and L.R. 16, IT IS
2    ORDERED:
3            1.     The parties are:
4            Masimo Corporation (“Masimo Corp.”) and Cercacor Laboratories, Inc.
5    (“Cercacor”) (jointly “Masimo”) and Apple Inc. (“Apple”).
6            The primary dispute between the parties is how to identify Masimo and Cercacor.
7    Masimo and Cercacor request to be identified jointly as “Masimo.” Apple seeks to refer
8    to them as either “Plaintiffs” or “Masimo Corporation and Cercacor Laboratories.”
9    Where the parties were unable to agree, Masimo’s proposal is identified by [[ green text
10   in square brackets ]] and Apple’s proposal is identified by << blue text in chevrons >>.
11           All parties have been served and have appeared. No other parties have been
12   named in the pleadings.
13           The pleadings that raise the issues are:
14                  a.    [[ Masimo’s ]]1 << Plaintiffs’ >>2 Fourth Amended Complaint for
15                        (1) Patent Infringement,3 (2) Trade Secret Misappropriation, (3)
16                        Correction of Inventorship, and (4) Ownership of Patents [Dkt. 296-
17                        1, filed on February 5, 2021];
18                  b.    Apple’s Amended Answer to [[ Masimo’s ]] << Plaintiffs’ >> Fourth
19                        Amended Complaint [Dkt. 370, filed on May 7, 2021];
20                  c.    [[ Masimo’s ]] << Plaintiffs’ >> First Supplement to the Fourth
21                        Amended Complaint [Dkt. 750, filed on June 6, 2022]; and
22                  d.    Apple’s Answer to [[ Masimo’s ]] << Plaintiffs’ >> First Supplement
23                        to the Fourth Amended Complaint [Dkt. 790, filed on June 27, 2022].
24
     1
25       Green text in brackets identifies Masimo’s proposed language.
     2
26       Blue text in chevrons identifies Apple’s proposed language.
27   3
      Claims 1-12 (patent infringement claims) are currently stayed pending the appeals of
28   Final Written Decisions from inter partes review proceedings. See Dkt. No. 220.
                                                  -1-
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1
2          2.     Federal jurisdiction and venue are invoked upon the following grounds:
3          This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
4    §§ 1331 and 1338(a) because the patent infringement claims arise under federal patent
5    laws, 35 U.S.C. §§ 271 and 281, because the correction of inventorship claims arise
6    under federal patent law, 35 U.S.C. § 256, and under the Declaratory Judgment Act, 28
7    U.S.C. §§ 2201 and 2202.
8          The Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a), over
9    [[ Masimo’s ]] << Plaintiffs’ >> state law claims for misappropriation of trade secrets
10   under the California Uniform Trade Secrets Act, Cal. Civ. Code § 3426, and for
11   ownership of patent and patent application claims. [[ Masimo’s ]] << Plaintiffs’ >> state
12   law claims state law claims are related to the patent infringement and correction of
13   inventorship claims such that they form part of the same case or controversy under
14   Article III of the United States Constitution.
15         This Court has personal jurisdiction over Apple and venue is proper in this Court
16   pursuant to 28 U.S.C. §§ 1391(b) and 1400(b) because a substantial part of the events
17   giving rise to the parties’ dispute arose in this judicial district. The parties agree that the
18   facts requisite to federal jurisdiction and venue are admitted.
19
20         3.     The trial is to be a jury trial. The trial will consist of ten days of evidence,
21   plus additional time for jury selection, opening statements, and closing arguments.
22
23         4.     At least seven days prior to the trial date, the parties shall file and serve by
24   e-mail: (a) proposed jury instructions as required by L.R. 51-1 and (b) any special
25   questions requested to be asked on voir dire.
26
27
28
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1          5.    The following facts are admitted and require no proof:
2          a)    Masimo Corporation is organized and exists under the laws of the state of
3                Delaware, and has a principal place of business at 52 Discovery, Irvine,
4                California 92618.
5          b)    Cercacor Laboratories, Inc., is organized and exists under the laws of the
6                state of Delaware, and has a principal place of business at 15750 Alton
7                Parkway, Irvine, California 92618.
8          c)    Apple Inc. is organized and exists under the laws of the state of California,
9                and has a principal place of business at One Apple Park Way, Cupertino,
10               California, 95014.
11
12         6.    Claims and defenses to be presented at trial:
13
14   [[ Masimo: ]] << Plaintiffs:>>
15         (a)   [[ Masimo plans ]] << Plaintiffs plan >> to pursue the following claims
16   against Apple and to seek monetary relief for Claim 13:
17         Claim 13: Apple’s Violation of the California Uniform Trade Secret Act;
18         Claim 14: Correction of Inventorship of U.S. Patent No. 10,078,052;
19         Claim 15: Correction of Inventorship of U.S. Patent No. 10,247,670;
20         Claim 16: Correction of Inventorship of U.S. Patent No. 9,952,095;
21         Claim 17: Correction of Inventorship of U.S. Patent No. 10,219,754;
22         Claim 18: Correction of Inventorship of U.S. Patent No. 9,723,997;
23         Claim 19: Correction of Inventorship of U.S. Patent No. 10,524,671;
24         Claim 20: Declaratory Judgment of Ownership of U.S. Patent No. 10,078,052;
25         Claim 21: Declaratory Judgment of Ownership of U.S. Patent No. 10,247,670;
26         Claim 22: Declaratory Judgment of Ownership of U.S. Patent No. 9,952,095;
27         Claim 23: Declaratory Judgment of Ownership of U.S. Patent No. 10,219,754;
28         Claim 24: Declaratory Judgment of Ownership of U.S. Patent No. 9,723,997;
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1          Claim 25: Declaratory Judgment of Ownership of U.S. Patent No. 10,524,671;
2          Claim 26: Declaratory Judgment of Ownership of U.S. Patent No. 11,009,390;
3          Claim 27: Declaratory Judgment of Ownership of U.S. Patent Application No.
4                    16/700,710; and
5          Claim 28: Correction of Inventorship of U.S. Patent No. 11,009,390.
6
7          (b)    The elements of [[ Masimo’s ]] << Plaintiffs’ >> claims] are:
8
9          Claim 13: Violation of the California Uniform Trade Secret Act
10         [[ Masimo ]] << Plaintiffs >> must prove by a preponderance of the evidence that,
11   for each asserted trade secret identified in [[ Exhibit A ]] << Exhibit B >>4 to this Joint
12   Pretrial Order (hereinafter, “Asserted Trade Secrets”):
13         a.     [[ Masimo ]] << Plaintiffs >> developed or otherwise lawfully possessed
14                the Asserted Trade Secret;5
15         b.     At the time of the alleged misappropriation, the Asserted Trade Secret
16                derived actual or potential independent economic value from not being
17                generally known to the public or to other persons who can obtain economic
18                value from its disclosure or use, and is the subject of efforts that are
19                reasonable under the circumstances to maintain its secrecy;
20
     4
       Exhibit A provides [[ Masimo’s ]] << Plaintiffs’ >> articulation of the Asserted Trade
21   Secrets after including the text of trade secrets incorporated by reference. Apple
22   disagrees that Exhibit A accurately presents the alleged trade secrets as written in the
     pleadings or in [[ Masimo’s ]] << Plaintiffs’ >> 2019.210 statement.             Further
23   [[Masimo]] <<Plaintiffs>> did not make any “incorporation by reference” in [[its]]
24   <<their>> alleged trade secrets, and should not now be permitted to proceed on the basis
     of anything other than the actual language of [[its]] <<their>> alleged trade secrets.
25   Apple lists the alleged trade secrets as written in [[ Masimo’s ]] << Plaintiffs’ >>
26   2019.210 statement in Exhibit B.
27   5
      Apple reserves all rights for appeal with respect to its position that [[ Masimo ]]
28   << Plaintiffs >> must show ownership of the alleged trade secrets. See, e.g., Dkt. 1083.

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1          c.    Apple improperly acquired, used, or disclosed the Asserted Trade Secret;6
2          d.    [[ Masimo was ]] << Plaintiffs were >> harmed or Apple was unjustly
3                enriched; and
4          e.    Apple’s acquisition, use, or disclosure was a substantial factor in causing
5                [[ Masimo Corp. and/or Cercacor ]] << Plaintiffs’ >> to suffer [[ harm ]]
6                << lost profits >> or causing Apple to be unjustly enriched.7
7
8          Claims 14-19, 28: Elements of [[ Masimo’s ]] << Plaintiffs’ >> Claims for
9          Correction of Inventorship
10         Separately for each challenged Apple patent and each allegedly omitted inventor,
11   [[ Masimo ]] << Plaintiffs >> must prove by clear and convincing evidence that the
12   alleged inventor:
13         a.    Contributed to the conception of at least one limitation in at least one claim
14               of the patent; and
15         b.    This contribution was not insignificant in quality, when that contribution is
16               measured against the dimension of the full invention.
17
18
19
     6
20    Apple disputes that the jury should be asked to determine whether Apple improperly
     acquired any alleged trade secret as Apple contends [[ Masimo has ]] << Plaintiffs
21   have >> not set forth any theory of damages or other remedy based on acquisition alone
22   and therefore this question should not go to the jury.
23   7
        [[ Masimo contends ]] << Plaintiffs contend >> that the elements of trade secret
     misappropriation do not require damages or unjust enrichment. [[ Masimo contends ]]
24
     << Plaintiffs contend >> that monetary relief differs from harm. [[ Masimo contends
25   it ]] << Plaintiffs contend they >> can seek monetary relief based on acquisition. Apple
26   objects to [[ Masimo ]] << Plaintiffs >> seeking damages based on acquisition only;
     Apple contends no such damages theory has ever been disclosed. Apple further objects
27   to Masimo seeking damages for actual harm in any form other than lost profits; Apple
28   contends Plaintiffs have similarly never disclosed any such theory.

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1           Claims 20-27: Elements of [[ Masimo’s ]] << Plaintiffs’ >> Claims for
2           Declaratory Judgment of Patent Ownership
3           Separately for each challenged Apple patent, [[ Masimo ]] << Plaintiffs >> must
4    prove by a preponderance of the evidence that at least one inventor assigned to
5    [[ Masimo ]] << Plaintiffs >> his or her interest in the patent, or made his or her
6    inventive contribution to the patent under an obligation to assign such rights to
7    [[ Masimo ]] << Plaintiffs >>.8
8
9           (c)   In brief, the key evidence on which [[ Masimo relies ]] << Plaintiffs
10   rely >> for each claim is:
11
12          Claim 13: Apple’s Violation of the California Uniform Trade Secret Act
13
14          a.    Ownership
15          For the                                    Trade Secrets, one or more witnesses
16   including, e.g., Mohamed Diab, Jeroen Poeze, Joe Kiani, and Vijay Madisetti will
17   explain [[ Masimo’s ]] << Plaintiffs’ >> development. [[ Masimo ]] << Plaintiffs >>
18   will present supporting evidence through [[ Masimo’s ]] << Plaintiffs’ >> documents,
19   including, for example, notebooks, technical documents, emails, and source code.
20          For the                                                    Trade Secrets, one or
21   more witnesses including, e.g., Mohamed Diab, Stephen Scruggs, and Vijay Madisetti
22   will   explain   [[ Masimo’s ]]    << Plaintiffs’ >>   development.        [[ Masimo ]]
23
24   8
       Apple objects to [[ Masimo’s ]] << Plaintiffs’ >> suggestion that [[ it ]] << they >>
25   need only to prove by a preponderance of evidence that “at least one inventor” assigned
26   his or her interest in the patent. Apple disagrees, but will reserve its objections until
     such time that the Court is prepared to address this question, e.g. through jury
27   instructions. [[ Masimo ]] << Plaintiffs state that they>> cannot respond to Apple’s
28   unstated “objection.”

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1    << Plaintiffs >>   will    present   supporting     evidence    through    [[ Masimo’s ]]
2    << Plaintiffs’ >> documents, including, for example, notebooks, technical documents,
3    emails, and source code.
4          For the                                                  Trade Secrets, one or more
5    witnesses including, e.g., Joe Kiani and Robert Palmatier will explain [[ Masimo’s ]]
6    << Plaintiffs’ >> development. [[ Masimo ]] << Plaintiffs >> will present supporting
7    evidence through [[ Masimo’s ]] << Plaintiffs’ >> products and documents, including,
8    for example, notebooks, business documents, and emails.]
9          One or more witnesses including, e.g., Joe Kiani, Tracy Miller, and Gerry
10   Hammarth will explain employee assignment agreements and the cross-license
11   agreement between Masimo Corp. and Cercacor. [[ Masimo ]] << Plaintiffs >> will
12   present supporting documentary evidence including, for example, the agreements and
13   any amendments.
14
15         b.    Derive Value From Not Being Generally Known, and Subject To
16               Reasonable Efforts To Keep Secret
17         One or more witnesses including, e.g., Mohamed Diab, Joe Kiani, Vijay
18   Madisetti, and Robert Palmatier along with the presentation of documentary evidence,
19   and cross examination of Apple’s and third party witnesses, will explain that each of
20   [[ Masimo’s ]] << Plaintiffs’ >> trade secrets derive independent economic value, actual
21   or potential, from not being generally known to the public or to other persons who can
22   obtain economic value from its disclosure or use.
23         One or more witnesses including, e.g., Mohamed Diab, Joe Kiani, Tracy Miller,
24   Bilal Muhsin, Gerry Hammarth, Vijay Madisetti, and Robert Palmatier along with the
25   presentation of documentary evidence, and cross examination of Apple’s and third party
26   witnesses will explain, along with [[ Masimo’s ]] << Plaintiffs’ >> policies, handbooks,
27   training, notebooks, physical and computer access restrictions, exit interview
28   procedures, employment agreements, email exhibits, and communications with Apple,
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1    the steps [[ Masimo ]] << Plaintiffs >> take to keep the trade secrets confidential,
2    proprietary and secret.
3
4          c.     Apple’s Misappropriation via Acquisition, Use, or Disclosure
5          One or more witnesses including, e.g., Vijay Madisetti will explain how Apple
6    misappropriated the                                   Trade Secrets, and [[ Masimo ]]
7    << Plaintiffs’ >> will present supporting evidence through Apple testimony and
8    documents, including, for example, notebooks, technical documents, emails, source
9    code, and interrogatory responses.
10         One or more witnesses including, e.g., Vijay Madisetti will explain how Apple
11   misappropriated the                                   Management Trade Secrets, and
12   [[ Masimo ]] << Plaintiffs >> will present supporting evidence through Apple testimony
13   and documents, including, for example, notebooks, technical documents, emails, source
14   code, and interrogatory responses.
15         One or more witnesses including, e.g., Robert Palmatier will explain how Apple
16   misappropriated the                                                Trade Secrets, and
17   [[ Masimo ]] << Plaintiffs >> will present supporting evidence through Apple testimony
18   and documents, including, for example, notebooks, business documents, emails, and
19   interrogatory responses.
20
21         d.     Apple’s Misappropriation Caused [[ Masimo ]] << Plaintiffs >> To Be
22                Harmed and Apple To Be Unjustly Enriched
23         One or more Masimo witnesses including, e.g., Joe Kiani and Bilal Muhsin and
24   contemporaneous documents will show that in
25
26                              Apple’s testimony and documents will show that Apple’s
27   misappropriation of [[ Masimo’s ]] << Plaintiffs’ >> trade secrets caused Apple
28                                                                                    One
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1    or more Masimo witnesses including, e.g., Joe Kiani, Bilal Muhsin, Ammar Al-Ali, and
2    Stephen Scruggs will explain that Masimo
3                                                 One or more witnesses including, e.g., Joe
4    Kiani will explain Masimo’s lost profits from lost                    to Apple, caused
5    by Apple’s trade secret misappropriation.
6          One or more witnesses including, e.g., Vijay Madisetti and Robert Palmatier will
7    explain Apple’s use of [[ Masimo’s ]] << Plaintiffs’ >> trade secrets in developing and
8    promoting certain health features related to the Apple Watch showing how Apple’s
9    misappropriation was a substantial factor in causing [[ Masimo’s ]] << Plaintiffs’ >>
10   harm and causing Apple to be unjustly enriched. One or more witnesses including, e.g.,
11   Jeffrey Kinrich will explain Apple’s unjust enrichment caused by Apple’s trade secret
12   misappropriation, as measured by Apple’s incremental profit related to the blood-
13   oxygen and ECG features of the Apple Watch.
14
15   Claims 14-27: [[ Masimo’s ]] << Plaintiffs’ >> Claims for Correction of
16   Inventorship
17         One or more witnesses including, e.g., Vijay Madisetti will testify that Mohamed
18   Diab should be named as an inventor of U.S. Patent Nos. 10,078,052, 10,247,670,
19   9,952,095, and 11,009,390; that Jeroen Poeze, Ammar Al-Ali, Mohamed Diab, and
20   Walter Weber should be named as inventors of U.S. Patent No. 10,219,754; that Greg
21   Olsen, Mohamed Diab, and Phil Weber should be named as inventors of U.S. Patent
22   No. 9,723,997; and that Greg Olsen, Mohamed Diab, Joe Kiani, and Phil Weber should
23   be named as inventors of U.S. Patent No. 10,524,671.
24         One or more witnesses including, e.g., Mohamed Diab, Jeroen Poeze, Ammar Al-
25   Ali, Walter Weber, Greg Olsen, and/or Joe Kiani will testify regarding their knowledge
26   of, contribution to, and teaching to Lamego the subject matter claimed in the disputed
27   Apple patents.
28         [[ Masimo ]] << Plaintiffs >> will present supporting evidence of products and
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1    documents, including, for example, notebooks, technical documents, patents and patent
2    filings, emails, source code, employment agreements, and interrogatory responses.
3
4    Claims 20-27: Elements of [[ Masimo’s ]] << Plaintiffs’ >> Claims for Declaratory
5    Judgment of Patent Ownership
6          [[ Masimo ]] << Plaintiffs >> will rely on the evidence that supports [[ its ]]
7    << their >> claims for correction of inventorship. In addition, one or more witnesses
8    including, e.g., Vijay Madisetti will testify that Masimo Corp. and/or Cercacor own the
9    disputed Apple patents because any inventive contribution to the disputed Apple patents
10   made by Marcelo Lamego, Mohamed Diab, Jeroen Poeze, Ammar Al-Ali, Walter
11   Weber, Greg Olsen, Joe Kiani, and/or Phil Weber was made while employed by Masimo
12   Corp. or Cercacor and they either assigned their rights in the disputed Apple patents to
13   Masimo or were under an obligation to assign such rights to Masimo.
14         One or more witnesses including, e.g., Mohamed Diab, Jeroen Poeze, Ammar Al-
15   Ali, Walter Weber, Greg Olsen, Joe Kiani, and/or Phil Weber will testify that they and
16   Marcelo Lamego made any inventive contribution to the subject matter claimed in the
17   disputed Apple patents while employed by Masimo or Cercacor and they either assigned
18   their rights in the disputed Apple patents to Masimo or were under an obligation to
19   assign such rights to Masimo.
20         [[ Masimo ]] << Plaintiffs >> will present supporting evidence of products and
21   documents, including, for example, notebooks, technical documents, patents and patent
22   filings, emails, source code, employment agreements, and interrogatory responses.
23
24   Apple:
25         (a)   Apple plans to pursue the following affirmative defenses:
26         Laches;
27         Statute of limitations;
28         Waiver;
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1          [[ Masimo ]] << Plaintiffs >> failed to take reasonable steps to mitigate
2          damages;
3          Unclean hands.9
4
5          (b)     The elements required to establish Apple’s affirmative defenses are the
6    following:
7          Laches
8          Apple must prove by the preponderance of the evidence that:
9          (1) [[ Masimo ]] << Plaintiffs >> unreasonably delayed in bringing the action;
10               and
11         (2) the delay prejudiced Apple.
12         Statute of limitations
13         Apple must prove by a preponderance of the evidence, for each Asserted Trade
14   Secret, that, to the extent the jury finds misappropriation, misappropriation of the
15   Asserted Trade Secret occurred before January 9, 2017.
16         [[ Masimo ]] << Plaintiffs >> can overcome the defense if [[ it proves ]] << they
17   prove >> by a preponderance of the evidence, for each Asserted Trade Secret, that
18   [[ it ]] << they >> did not discover, nor with reasonable diligence should have
19   discovered, facts that would have caused a reasonable person to suspect that Apple had
20   misappropriated the Asserted Trade Secrets.
21
22
23
     9
       Pursuant to the Court’s Daubert Order (Dkt. 1323 at 3-4), Apple understands it may
24
     not present its “readily ascertainable” defense at trial. Apple reserves all appellate rights
25   with respect to the Court’s Order. For the avoidance of doubt, Apple is also pursuing its
26   defenses of no willfulness; independent development of the alleged trade secrets;
     independent development of the Disputed Patents; and no causation of damages. Apple
27   asserts that [[ Masimo bears ]] << Plaintiffs bear >> the burden on each of these issues
28   and they are accordingly not listed here.

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1             Waiver
2             Apple must prove by a preponderance of the evidence, for each asserted claim,
3    that [[ Masimo ]] << Plaintiffs >> intentionally relinquished or abandoned a known
4    right.
5             [[ Masimo ]] << Plaintiffs >> failed to take reasonable steps to mitigate
6             damages
7             Apple must prove by the preponderance of the evidence that [[[ Masimo ]]
8    << Plaintiffs >> could have avoided the alleged harm with reasonable efforts or
9    expenditures.
10            Unclean hands
11            Apple must prove by the preponderance of the evidence that, for each asserted
12   claim:
13            (1) [[ Masimo ]] << Plaintiffs >> engaged in misconduct; and
14            (2) [[ Masimo’s ]] << Plaintiffs’ >> misconduct is related to the claim to which
15                  the defense is asserted.
16
17            (c)      In brief, the key evidence on which Apple relies for each affirmative
18   defense is the following:
19            Laches
20            Apple witnesses, including, e.g., Steve Hotelling and Deidre Caldbeck, along
21   with the presentation of documentary evidence, and cross examination of
22   [[ Masimo’s ]] << Plaintiffs’ >> witnesses will show that [[ Masimo has ]]
23   << Plaintiffs have >> been aware of the conduct on which [[ it bases ]] << they
24   base >> allegations of trade secret liability since                          , and possibly
25   significantly earlier.
26            Apple witnesses, including, e.g., Steve Hotelling, Steven Warren, and Majid
27   Sarrafzadeh, along with the presentation of documentary evidence, and cross
28   examination of [[ Masimo’s ]] << Plaintiffs’ >> witnesses will show that [[ Masimo
                                                   -12-
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1    base >> allegations of trade secret liability since
2
3             Apple witnesses, including, e.g., Steve Hotelling, Steven Warren, and Majid
4    Sarrafzadeh, along with the presentation of documentary evidence, and cross
5    examination of [[ Masimo’s ]] << Plaintiffs’ >> witnesses will show that [[ Masimo
6    has ]] << Plaintiffs have >> been aware of the Disputed Patents at least as early as
7    December 2018 and possibly significantly earlier.
8             Apple witnesses, including, e.g., Steve Hotelling and Deidre Caldbeck, along
9    with the presentation of documentary evidence, will show how Apple has been
10   prejudiced by [[ Masimo’s ]] << Plaintiffs’ >> strategic and intentional decision to
11   wait nearly seven years before filing this suit in January 2020.
12            [[ Masimo ]] << Plaintiffs >> failed to take reasonable steps to mitigate
13            damages
14            Cross examination of [[ Masimo’s ]] << Plaintiffs’ >> witnesses, along with the
15   presentation of documentary evidence, will show that [[ Masimo ]] << Plaintiffs >>
16   could have avoided the alleged harm through reasonable efforts or expenditures.
17            Unclean hands
18            Cross examination of [[ Masimo’s ]] << Plaintiffs’ >> and third-party witnesses,
19   along with the presentation of documentary evidence, will show that [[ Masimo ]]
20   << Plaintiffs >> engaged in misconduct and that Masimo’s misconduct was related to
21   the asserted claims.
22
23            7.    In view of the admitted facts and the elements required to establish the
24   claims, counterclaims, and affirmative defenses, the following issues remain to be
25   tried:
26
27
28
                                                 -14-
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1          Issues for the jury include:
2                 1)    Whether Apple misappropriated Masimo’s Asserted Trade Secrets
3                       as defined under California Uniform Trade Secret Act (Cal. Civ.
4                       Code § 3246.1), including for each Asserted Trade Secret:
5                       a. Whether Masimo developed or otherwise lawfully possessed the
6                          Asserted Trade Secret;11
7                       b. Whether the Asserted Trade Secret was a trade secret at the time
8                          of the alleged misappropriation;
9                       c. Whether Apple improperly acquired, used, or disclosed the
10                         Asserted Trade Secret;
11                      d. Whether [[ Masimo ]] << Plaintiffs >> were harmed or Apple was
12                         unjustly enriched; and
13                      e. Whether Apple’s [[ acquisition ]] << >>, use, or disclosure was a
14                         substantial factor in causing Masimo [[ to be harmed or ]] << >>
15                         suffer lost profits12 or Apple to be unjustly enriched.
16                2)    Whether Apple did not improperly acquire, use, or disclose the
17                      Asserted Trade Secrets, but rather independently discovered the
18                      information that [[ Masimo ]] << Plaintiffs >> allege Apple
19                      misappropriated;
20
21   11
       As noted above, Apple reserves all rights with respect to its position that [[ Masimo ]]
22   << Plaintiffs >> must demonstrate ownership of the alleged trade secrets.
23   12
        As set forth above, [[ Masimo contends ]] << Plaintiffs contend >> that the elements
     of trade secret misappropriation do not require damages or unjust enrichment.
24
     [[ Masimo contends ]] << Plaintiffs contend >> that monetary relief differs from harm.
25   [[ Masimo contends that it ]] << Plaintiffs contend that they >> can seek monetary relief
26   based on acquisition. Apple objects to [[ Masimo ]] << Plaintiffs >> seeking damages
     based on acquisition only and contends no such damages theory has ever been disclosed.
27   Apple further objects to [[ Masimo ]] << Plaintiffs >> seeking damages for actual harm
28   in any form other than lost profits and contends no such theory has been disclosed.

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1                 3)    Whether Apple’s alleged misappropriation of [[ Masimo’s ]]
2                       << Plaintiffs’ >> Asserted Trade Secrets was willful and malicious
3                       (Cal. Civ. Code § 3246.3);
4                 4)    Whether [[ Masimo’s ]] << Plaintiffs’ >> claims are barred by the
5                       applicable statute of limitations;
6                 5)    Whether [[ Masimo’s ]] << Plaintiffs’ >> employees contributed to
7                       the claimed inventions of U.S. Patent Nos. 9,723,997, 10,078,052,
8                       10,247,670, 9,952,095, 11,009,390, 10,219,754, and 10,524,671 (the
9                       “Disputed Patents) such that [[ Masimo’s ]] << Plaintiffs’ >>
10                      employees should have been named as inventors;
11                6)    Whether [[ Masimo Corp. and/or Cercacor ]] << Plaintiffs >> should
12                      be declared at least a joint owner of the Disputed Patents or U.S.
13                      Patent Application No. 16/700,710 by virtue of any determination
14                      that [[ Masimo Corp. and/or Cercacor’s ]] << Plaintiffs’ >>
15                      employees should have been named as inventors or that Lamego
16                      invented the claimed inventions while employed by [[ Masimo Corp.
17                      or ]] Cercacor;
18                7)    Whether     [[ Masimo     is ]]   << Plaintiffs   are >>   entitled   to
19                      [[ damages ]] << lost profits >>13 and/or unjust enrichment from
20                      Apple and, if so, in what amount; and
21                8)    Whether [[ Masimo ]] << Plaintiffs >> failed to mitigate damages.
22
23         The Parties Disagree Who Decides the Following Issue:
24                9)    Whether [[ Masimo’s ]] << Plaintiffs’ >> claims are barred by the
25                      doctrine of unclean hands.
26
27   13
      As set forth in footnote five, the Parties dispute whether [[ Masimo ]] << Plaintiffs >>
28   may seek monetary relief for Apple’s acquisition of the Asserted Trade Secrets.

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1          Issues for the Court include:
2                 10)   Whether [[ Masimo’s ]] << Plaintiffs’ >> claims are barred by the
3                       doctrine of laches;
4                 11)   Whether [[ Masimo’s ]] << Plaintiffs’ >> claims are barred by
5                       waiver;
6                 12)   If neither [[ damages ]] << lost profits >> nor unjust enrichment is
7                       proven, whether [[ Masimo is ]] << Plaintiffs are >> entitled to a
8                       reasonable royalty and, if so, in what amount;14
9                 13)   Whether     to   award     punitive   or   exemplary    damages    for
10                      misappropriation of trade secrets and, if so, in what amount;
11                14)   Whether to award attorneys’ fees for willful and malicious
12                      misappropriation of trade secrets and, if so, in what amount;
13                15)   Whether to enjoin Apple from further misappropriation;
14                16)   Whether to direct the U.S. Patent and Trademark Office to correct
15                      the inventorship of the ’052, ’670, ’095, ’754, ’671, ’997, and ’390
16                      patents;
17                17)   Whether to impose upon Apple, as a constructive trustee, certain
18                      responsibilities to maintain the ’052, ’670, ’095, ’754, ’671, ’997,
19                      and ’390 patents and to continue the prosecution of any pending
20                      applications derived from the patent applications that led to those
21                      patents;
22                18)   Whether to declare Masimo at least a joint owner of the ’052, ’670,
23                      ’095, ’754, ’671, ’997, and ’390 patents, and the ’710 application,
24                      and all applications, patents, continuations, divisionals, and reissues
25                      that claim priority to those patents and that patent application,
26
27   14
      As set forth in footnote five, the Parties dispute whether [[ Masimo ]] << Plaintiffs >>
28   may seek monetary relief for Apple’s alleged acquisition of the Asserted Trade Secrets.

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1                          including foreign counterparts; and
2                   19)    Whether to award [[ Masimo ]] << Plaintiffs >> pre- and/or post-
3                          judgment interest.
4
5             8.    Discovery is complete other than discovery related to a reasonable royalty
6    determination and discovery relating to stayed patent claims.
7
8             9.    Disclosures under Fed. R. Civ. P. 26(a)(3) have been made.
9
10                  The joint exhibit list of the parties has been filed under separate cover as
11   required by L.R. 16-6.1. Unless all parties agree that an exhibit shall be withdrawn, all
12   exhibits will be admitted without objection at trial, except those exhibits objected to as
13   follows:
14                  [[ Masimo’s ]] << Plaintiffs’ >> objections to exhibits and the grounds for
15   such objections are set forth in Appendix 1 to this Order.
16                  Apple’s objections to exhibits and the grounds for such objections are set
17   forth in Appendix 2 to this Order.
18
19            10.   Witness lists of the parties have been filed with the Court under separate
20   cover.
21                  Only the witnesses identified in the lists will be permitted to testify (other
22   than for good cause shown).15
23                  Each party intending to present evidence by way of deposition testimony
24
25
26   15
         [[ Masimo asserts it ]] << Plaintiffs assert they >> should also be able to call
27   appropriate witnesses in its rebuttal case in accordance with the Rules. Apple believes
28   all witnesses should be disclosed absent good cause shown.

                                                  -18-
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1    has marked such depositions in accordance with L.R. 16-2.7.16 For this purpose, the
2    following depositions shall be lodged with the Clerk as required by L.R. 32-1:
3                  David Amor
4                  Louis Bokma
5                  Aditya Dua
6                  Jack Fu
7                  Chinsan Han
8                  Jackie Harlow
9                  Michael Jaynes
10                 Alex Kanaris
11                 Eugene Kim
12                 Brian Land
13                 Paul Mannheimer
14                 Robert Mansfield
15                 Afshad Mistri
16                 Divya Nag
17                 Trevor Ness
18                 Nonin (Jill Wroblewski and Aaron Lobbestael)
19                 Denby Sellers
20                 Tao Shui
21                 David Tom
22                 Vivek Venugopal
23                 Jeff Williams
24
25   16
       The parties have not exchanged deposition designations for witnesses that appear on
26   the other side’s lists of witnesses it has represented it will call live. The parties agree
     that, if any witness is removed from a party’s will call live list, the other side may
27   subsequently provide deposition designations, subject to objections and counter-
28   designations.

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1                  Dong Zheng
2                  Yassir Abdul-Hafiz
3                  Ammar Al-Ali
4                  Anand Sampath
5                  Robert Smith
6                  Philip Weber
7                  Walter Weber
8                  Micah Young
9                 [[ Masimo objects ]] << Plaintiffs object >> to the presentation of
10   testimony by deposition of Marcelo Lamego unless his subpoena is quashed or he fails
11   to appear.
12                No deposition testimony not already designated, whether designated as
13   affirmative or counter-designations, may later be added, absent good cause shown.
14   Pursuant to the procedures set forth below, the parties will identify the portions of
15   designations to be offered and provide transcripts of those portions to the Court closer
16   in time to when a party anticipates calling a witness by deposition so that the Court may
17   rule on any outstanding objections.
18         11.    The following law and motion matters and motions in limine, and no
19   others, are pending or contemplated:
20         [[ Masimo ]] << Plaintiffs>> filed the following:
21         (1)    Motion in Limine No. 1: Exclude Evidence of [[ Masimo’s ]]
22                << Plaintiffs’ >> Attorneys’ Involvement In This Case
23         Apple has filed the following:
24         (1)    Motion In Limine No. 1: Preclude References To Other Litigations And
25                Proceeding
26         (2)    Motion In Limine No. 2: Preclude References To Irrelevant Apple
27                Operations
28
                                               -20-
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1           (3)   Motion In Limine No. 3: Exclude Irrelevant And/Or Inflammatory
2                 Statements Attributed To Apple’s Employees
3           (4)   Motion In Limine No. 4: Exclude Unlawful Confidentiality Provisions Of
4                 Employee Agreements
5
6           (2)   Bifurcation of the following issues for trial is ordered:         The trial to
7    determine whether [[ Masimo ]] << Plaintiffs >> should be awarded a reasonable
8    royalty, and the amount of any such royalty, for Apple’s alleged misappropriation of
9    [[ Masimo’s ]] << Plaintiffs’ >> Asserted Trade Secrets will be bifurcated and presented
10   to the Court after a jury verdict, if necessary. Additionally, trial on [[ Masimo’s ]]
11   << Plaintiffs’ >> patent infringement claims 1-12 has been bifurcated pending the
12   appeals of Final Written Decisions from inter partes review proceedings.
13
14          (3)   Stipulations For Trial: The parties agree on the following stipulations
15   for trial:
16                a. Sequestration: Pursuant to Federal Rule of Evidence 615(b), each side
17                   will designate a representative who is not subject to sequestration. For
18                   the avoidance of doubt, expert witnesses are not excluded from the
19                   courtroom for either fact or expert testimony.
20                b. Scope of Examinations at Trial – The parties agree that, for any
21                   witnesses on both parties’ witness lists who are presenting live
22                   testimony, the scope of cross-examination shall not be limited to the
23                   scope of direct examination. Accordingly, when [[ Masimo calls live
24                   its ]] << Plaintiffs call live their>> witnesses during [[ its ]] << their >>
25                   case-in-chief, Apple may exceed the scope of the direct examination for
26                   witnesses on Apple’s witness list and Apple will complete its
27                   examination so that the witness will not have to return to testify a second
28                   time in Apple’s case-in-chief. Similarly, when Apple call its live
                                                -21-
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1                  witnesses in its case-in-chief, [[ Masimo ]] << Plaintiffs >> may exceed
2                  the scope of the direct examination for witnesses on [[ its ]] << their >>
3                  own list so that [[ Masimo ]] << Plaintiffs >> need not have previously
4                  called the witnesses in [[ its ]] << their >> case-in-chief.         Thus,
5                  [[ Masimo’s ]] << Plaintiffs’ >> case-in-chief shall remain open
6                  through presentation of all of Apple’s live witnesses on [[ Masimo’s ]]
7                  << Plaintiffs’ >> witness list. Each Party is currently relying on the
8                  other Party’s identification of “will call live” witnesses, and the
9                  understanding that such witness will be presented live at trial, and
10                 therefore the parties need not issue trial subpoenas for such witnesses.
11                 If a Party does not call a currently designated “will call live” witness of
12                 that Party, the other side will have the right to call that witness as an
13                 adverse witness and such witness will be made available at trial unless
14                 the Parties agree to proceed by deposition or otherwise.
15              c. Witness Availability – The parties understand the start date of trial may
16                 be delayed and that there may be scheduling conflicts that require taking
17                 witnesses out of order. The parties agree to work in good faith to
18                 navigate witness scheduling issues—including, if necessary, by calling
19                 witnesses out of order.
20              d. Disclosure of Witnesses Testifying at Trial – The parties have agreed
21                 to the deadlines for disclosure of trial witnesses as follows: During its
22                 case-in-chief, each side will identify any witnesses it expects to call by
23                 deposition by 6:00 pm three calendar days before the trial day during
24                 which the designations will be read or played (for example, by 6:00 pm
25                 on Saturday for a witness whose deposition will be played on Tuesday)
26                 and any witnesses it expects to call live and the order in which it expects
27                 to call them by 6:00 pm two calendar days before the trial day during
28
                                             -22-
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1                  which the witnesses are called (for example, by 6:00 pm on Sunday for
2                  a witness who will be called on Tuesday).
3               e. Disclosure of Deposition Designations – The parties have agreed to the
4                  deadlines for disclosure of deposition designations as follows:
5                     i. If a party identifies a witness that it intends to call at trial by
6                        deposition, then the party shall identify the specific pages and
7                        lines of the witness’s deposition testimony that the party expects
8                        to play by 7:00 pm three calendar days before the trial day during
9                        which the deposition is expected to be read or played.
10                    ii. For each such witness, the opposing side shall identify objections
11                       and counter-designations by 6:00 pm the following day (i.e., two
12                       calendar days before the trial day during which the testimony is
13                       expected to be played).
14                   iii. The proffering side shall identify any objections to the counter
15                       designations and counter-counter designations by 8:00 pm.
16                   iv. The parties will meet and confer by 9:00 pm that night (i.e., two
17                       calendar days before the trial day during which the testimony is
18                       expected to be played) in an effort to resolve their objections and
19                       any other issues relating to the deposition designations.
20                    v. The party offering the testimony is responsible for preparing a
21                       transcript clip report, including all unresolved objections, for
22                       submission to the Court the calendar day before the testimony is
23                       expected to be played.
24                   vi. The party offering the testimony is responsible for preparing
25                       video deposition clips and final transcript clip reports of all
26                       designated testimony for that witness. A copy of the video
27                       deposition clips and clip reports shall be provided to the opposing
28
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1                           party no later than 9:30 pm the calendar day before the deposition
2                           testimony is expected to be played.
3                      vii. Each party agrees that correct copies of transcripts and video
4                           recordings of depositions taken in this litigation may be used by
5                           either party at trial, without respect to whether the copy is
6                           certified. No party shall object to the authenticity of a copy of a
7                           deposition transcript or video recording of a deposition absent
8                           evidence that the copy is, in fact, inaccurate or inauthentic. The
9                           party challenging the authenticity of a deposition transcript or
10                          video recording shall bear the burden of establishing that the
11                          transcript or video recording is not authentic. All other objections
12                          to admissibility of deposition testimony are preserved.
13                    viii. Designations and counter-designations will be presented via
14                          video and played in page order.17 All objections and colloquies
15                          between counsel will be eliminated when the designated
16                          testimony is played.
17                     ix. When deposition testimony is played by video, the time available
18                          for each party’s presentation of evidence shall be reduced by the
19                          length of its designations and counter-designations as played.
20                      x. The parties have agreed that certain witnesses can be called by
21                          deposition, regardless of the availability of the witness to testify
22                          live.
23                             1. [[ Masimo has ]] << Plaintiffs have >> agreed that Apple
24                                  may call the following witnesses via deposition, regardless
25
     17
26     The Parties disagree whether this rule should apply to Marcelo Lamego if he were
     unavailable to testify live. [[ Masimo believes ]] << Plaintiffs believe >> it should not.
27   Apple believes it should. Dr. Lamego testified at deposition pursuant to subpoenas
28   served by both sides, but was first questioned by Apple.

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1                              of whether the witness is within the Court’s subpoena
2                              power:
3                                 a. Yassir Abdul-Hafiz
4                                 b. Ammar Al-Ali
5                                 c. Alex Kanaris
6                                 d. Greg Olsen
7                                 e. Anand Sampath
8                                 f. Robert Smith
9                                 g. Philip Weber
10                                h. Walter Weber
11                                i. Micah Young
12                          2. Apple has agreed that [[ Masimo ]] << Plaintiffs >> may
13                             call the following witnesses via deposition, regardless of
14                             whether the witness is within the Court’s subpoena power:
15                                a. David Amor
16                                b. Louis Bokma
17                                c. Aditya Dua
18                                d. Jack Fu
19                                e. Chinsan Han
20                                f. Jackie Harlow
21                                g. Michael Jaynes
22                                h. Alex Kanaris
23                                i. Eugene Kim
24                                j. Brian Land
25                                k. Paul Mannheimer
26                                l. Robert Mansfield
27                                m. Afshad Mistri
28                                n. Divya Nag
                                           -25-
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1                                      o. Trevor Ness
2                                      p. Nonin (Jill Wroblewski and Aaron Lobbestael)
3                                      q. Denby Sellers
4                                      r. Tao Shui
5                                      s. David Tom
6                                      t. Vivek Venugopal
7                                      u. Jeff Williams
8                                      v. Dong Zheng
9                   f. Disclosure of Exhibits – The parties have agreed to the deadlines for
10                     disclosure of exhibits and objections thereto as follows:
11                         i. Each side will identify exhibits that will be shown to the trier of
12                            fact during opening statements by noon one calendar day before
13                            the date on which opening statements are presented to the jury.
14                            The opposing side shall identify any objections to exhibits to be
15                            shown during opening statements by 6:00 pm that night. The
16                            parties will meet and confer by 9:00 pm in an effort to resolve any
17                            such objections. Any unresolved objections will be raised with
18                            the Court outside the presence of the jury before commencement
19                            of opening statements.
20                        ii. Each side will identify exhibits that will be offered into evidence
21                            during the testimony of a witness called by that side, whether live
22                            or via deposition, by 6:00 pm one calendar day before the trial
23                            day the witness is called (for example, by 6:00 pm on Monday for
24                            a witness who will be called on Tuesday).
25                       iii. The opposing side shall identify objections by 8:00 pm the same
26                            day.18
27
     18
          The Parties disagree regarding whether a Party need disclose exhibits they will seek
28
                                                 -26-
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1                      iv. The parties will meet and confer by 9:00 pm the same day in an
2                           effort to resolve their objections and any other issues relating to
3                           the disclosed exhibits.
4                       v. For any unresolved objections to an exhibit, the parties will
5                           address those objections with the Court outside the presence of
6                           the jury before seeking to introduce the exhibit at trial.
7                      vi. The parties agree that documents that will be used for
8                           impeachment do not need to be identified as part of these
9                           disclosures.
10                     vii. An exhibit, once admitted, may be used equally by each party.
11                    viii. The listing of an exhibit by a party on its exhibit list does not
12                          waive any evidentiary or other objections to that exhibit by the
13                          listing party should the opposing party attempt to offer it into
14                          evidence.
15                     ix. The parties agree that any description of a document on an exhibit
16                          list is provided for convenience only and shall not be used as an
17                          admission or otherwise as evidence regarding that document.
18
19
     to introduce into evidence through an adverse witness. Because Apple agreed
20
     [[ Masimo ]] << Plaintiffs >> may examine witnesses outside the scope of direct in order
21   to avoid calling them adversely, it believes the appropriate course is for all parties to
     disclose any exhibits they intend to introduce into evidence during examination of any
22
     witness pursuant to the above procedures. For example, if in lieu of calling an Apple
23   employee adversely during their case-in-chief, [[ Masimo defers its ]] << Plaintiffs defer
     their >> examination until that witness testifies during Apple’s case-in-chief but
24
     [[ seeks ]] << seek >> to exceed the scope of the direct examination to present
25   affirmative evidence through that witness, Apple believes [[ Masimo ]] << Plaintiffs >>
26   should identify the exhibits [[ it ]] << they >> will seek to admit through that witness
     pursuant to the procedures set forth herein so that objections can be resolved before the
27   witness testifies. [[ Masimo disagrees and contends ]] << Plaintiffs disagree and
28   contend >> that an adverse witness need not be given exhibits the night before testifying.

                                                -27-
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1                     x. The parties agree that any date listed on the exhibit list is neither
2                        evidence of nor an admission of the date of the document, and
3                        that failing to list a date is neither evidence of nor an admission
4                        of whether the document is dated.
5                    xi. Each party reserves the right to use documents not set forth in its
6                        exhibit list for purposes of impeachment.
7               g. Disclosure of Trial Demonstratives – In lieu of the deadline set forth
8                  in L.R. 16-3, the parties have agreed to the deadline for disclosure of
9                  trial demonstratives as follows:
10                    i. Each side will disclose graphical, illustrative, or demonstrative
11                       material that will be shown to the trier of fact during opening
12                       statements by noon one calendar day before the date on which
13                       opening statements are presented to the jury. The opposing side
14                       shall identify any objections by 6:00 pm that night. The parties
15                       will meet and confer by 9:00 pm in an effort to resolve any such
16                       objections. Any unresolved objections will be raised with the
17                       Court outside the presence of the jury before commencement of
18                       opening statements.
19                    ii. Each side will disclose graphical, illustrative, or demonstrative
20                       material that will be shown to the trier of fact during the testimony
21                       of a witness called by that side by 6:00 pm one calendar day
22                       before the witness is called (for example, by 6:00 pm on Monday
23                       for a witness who will be called on Tuesday).
24                   iii. The opposing side shall identify any objections by 8:00 pm the
25                       same day.
26                   iv. The parties will meet and confer by 9:00 pm the same day in an
27                       effort to resolve their objections.
28
                                             -28-
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1                     v. For any unresolved objections to demonstratives, the parties will
2                        address those objections with the Court outside the presence of
3                        the jury before seeking to show the demonstrative at trial.
4                    vi. Graphical, illustrative, or demonstrative material that consists
5                        solely of an excerpt from an exhibit including highlighting and/or
6                        call-outs (without more) need not be disclosed in advance of
7                        being shown to the trier of fact provided the exhibit has been
8                        disclosed pursuant to the above process.
9                    vii. The party seeking to use graphical, illustrative, or demonstrative
10                       material will provide a color representation of that material to the
11                       other side in PDF form. For video or animations, the party
12                       seeking to use the material will provide it to the other side via a
13                       USB drive or other agreed-upon means.
14                  viii. Exhibits or graphical, illustrative, or demonstrative material that
15                       will be shown to the trier of fact during the examination of an
16                       adverse witness need not be disclosed in advance of such
17                       examination.
18              h. Authenticity of Exhibits – The parties stipulate to the authenticity of
19                 each trial exhibit that is a document or thing produced by a party and on
20                 its face appears to be generated by the party, including by current or
21                 former employees, officers, or agents of the producing party, subject to
22                 the right of the party against which such document or thing is offered to
23                 adduce evidence to the contrary. Notwithstanding this stipulation, each
24                 party preserves its right to object to the document or thing on any ground
25                 other than authenticity.
26              i. Copies of Documents – Complete legible copies of documents may be
27                 offered and received in evidence to the same extent as an original unless
28                 a genuine question is raised as to the authenticity of the original, or in
                                              -29-
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1                  the circumstances it would be unfair to admit the copy in lieu of the
2                  original. Legible copies of the patents at issue and the contents of their
3                  U.S. Patent and Trademark Office file histories may be offered and
4                  received in evidence in lieu of certified copies thereof, subject to all
5                  other objections that might be made to the admissibility of certified
6                  copies.
7               j. Rebuttal Case – The parties currently have a dispute as to the proper
8                  scope as to any rebuttal case.
9                     [[ Masimo’s ]] << Plaintiffs’ >> Position: [[ Masimo intends ]]
10                 << Plaintiffs intend >> to present a rebuttal case, if necessary, on all
11                 issues.   Whether [[ Masimo presents ]] << Plaintiffs present >> a
12                 rebuttal case does not depend solely on which Party has the burden of
13                 proof on any issue. Further, that the Parties saw the benefit of having
14                 witnesses appear once to testify should have no effect on whether
15                 [[ Masimo is ]] << Plaintiffs are >> entitled to present rebuttal
16                 witnesses. [[ Masimo contends ]] << Plaintiffs contend >> the Parties
17                 were unable to finally agree on any “one-and-done rule” particularly
18                 because Apple maintained that implementing such rule would preclude
19                 [[ Masimo ]] << Plaintiffs >> from presenting any rebuttal case.
20                    Apple’s Position: [[ Masimo ]] << Plaintiffs >> should not be
21                 permitted to present a rebuttal case except as to issues for which Apple
22                 has the burden. Apple further objects to [[ Masimo ]] << Plaintiffs >>
23                 re-calling any fact witnesses in rebuttal including because (1) [[ Masimo
24                 has ]] << Plaintiffs have >> not identified any issue for which Apple has
25                 the burden that fact witness testimony would be appropriate to rebut and
26                 (2) the Parties’ prior agreement that fact witnesses would be “one and
27                 done”—i.e., only testify once—precludes [[ Masimo ]] << Plaintiffs >>
28                 from re-calling any fact witnesses. >>
                                             -30-
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2          (4)    The foregoing admissions having been made by the parties, and the parties
3    having specified the foregoing issues remaining to be litigated, this Final Pretrial
4    Conference Order shall supersede the pleadings and govern the course of the trial of this
5    cause, unless modified to prevent manifest injustice.
6
7    DATED: _________________                     __________________________
8                                                 The Honorable James V. Selna
                                                  United States District Judge
9
10
11                                            KNOBBE, MARTENS, OLSON & BEAR, LLP
12   Dated: March 1, 2023                     By: /s/ Ben Katzenellenbogen
13                                                 Benjamin A. Katzenellenbogen
14                                                    Attorneys for Plaintiffs
                                                      MASIMO CORPORATION and
15                                                    CERCACOR LABORATORIES, INC.
16
                                              WILMER CUTLER PICKERING HALE AND DORR,
17                                            LLP
18   Dated: March 1, 2023                     By: /s/ Mark D. Selwyn
19                                                 Mark D. Selwyn

20                                                    Attorneys for Defendant
                                                      APPLE INC.
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                        EXHIBIT A
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                         EXHIBIT B
                        FILED UNDER SEAL




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                      APPENDIX 1
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                      APPENDIX 2
                      FILED UNDER SEAL
